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VIA ECF

The Honorable Leonard P. Stark
U.S. District Court for the District of Delaware
844 North King Street
Wilmington, Delaware 19801

         Re: Crystallex International Corporation v. Bolivarian Republic of Venezuela et al.,
             C.A. No. 17-mc-151-LPS

Dear Judge Stark:

I write on behalf of Crystallex International Corporation (“Crystallex”) to advise the Court on a
proposed format for supplemental briefing on the sanctions issues raised by the slides that counsel
for the Venezuela Parties presented at Monday’s hearing. Crystallex and the Venezuela Parties
have conferred and agree on the following proposed format:

   •   The Venezuela Parties and Crystallex will file simultaneous opening briefs of 15 pages
       (double-spaced) by November 22; and

   •   The Venezuela Parties and Crystallex will file simultaneous responsive briefs of 10 pages
       (double-spaced) by December 8.

Counsel for Crystallex has also conferred with the Special Master’s counsel regarding the proposed
briefing format. The Special Master’s counsel has no concerns with the proposed briefing format
and has noted that although the Special Master does not intend to file anything further on this issue
at this time, the Special Master reserves the right to file a response to the papers filed by the
Venezuela Parties and Crystallex if, after reviewing them, the Special Master believes a response
is appropriate.

If the foregoing briefing format is acceptable, the parties respectfully request that the Court enter
an order adopting the proposed format.

                                                      Respectfully submitted,

                                                      /s/ Travis S. Hunter

                                                      Travis S. Hunter (#5350)

cc: All counsel of record
